
724 S.E.2d 66 (2012)
In the Matter of K.M.
No. 121P12-1.
Supreme Court of North Carolina.
March 22, 2012.
Pamela Newell, GAL, Raleigh, for GAL.
Annick Lenoir-Peek, Assistant Appellate Defender, for Miller, Trov.
*67 J. Edward Yeager, Jr., Attorney at Law, Charlotte, for Mecklenburg County DS3.
The following order has been entered on the motion fried on the 22nd of March 2012 by Petitioner (Mecklenburg County DSS) for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 22nd of March 2012."
